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                                                                                                     Transmittal Number: 11980664
Notice of Service of Process                                                                            Date Processed: 12/23/2013

Primary Contact:           WF West - WF Bank
                           Corporation Service Company- Wilmington, DELAWARE
                           2711 Centerville Rd
                           Suite 400
                           Wilmington, DE 19808

Entity:                                       Wells Fargo Bank, National Association
                                              Entity ID Number 2013649
Entity Served:                                Wells Fargo Bank, N.A.
Title of Action:                              Frederick Bullock vs. Wells Fargo Bank, N.A.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Kenai Superior Court, Alaska
Case/Reference No:                            3KN-13-1038CI
Jurisdiction Served:                          Alaska
Date Served on CSC:                           12/20/2013
Answer or Appearance Due:                     20 Days
Originally Served On:                         Wells Fargo Bank, N.A.
How Served:                                   Client Direct
Sender Information:                           Renee Bullock
                                              Not Shown
Client Requested Information:                 Matter Management User Groups: [Service of Process]

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com




                   Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 1 of 14
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                                           WELLS FARGO FAX COVER SHU' r

                                           •    Complete the Fa:t Co~·c•• Sheet in its entirety.
                                                Incomplete cover shcets/raxes m:ty cause a delay in routing.
                       Procedure:               Ro utin g delays may result in a loss to Wells FarJ!n.          ·
                                           •    Fax or Email Documem(s) including envelope the day received.
                                           •    Place pages in order with envelope as the last page.
                                           •    Use a separate cover sheet for each service of process and fax individually. If all pages do not go
                                                through on the first attempt, re-fax the entire document & indicate on the cover sheet that it is a
                                                rc-fax.
                                           •    If unable to forward via fax or email due to poor quality/size/equipment issues/etc .. please
                                                overnight to the address listed below.
                                           •    Retain the original in your file unless there is a check attached. If a check is attached.
                                                please send a copy of the sen-ice nnd the check to NOOOI- 101 .                                           ·

                                    DATE:           12/20/2013

                                     TO:            Service of Process
                              COMPA)JY:             Corporation Service Company
                                 E-MAIL:            WellsFargosop@cscinfo.com
                                FAX )JO.:           866-487-4597
                             OVERNlGHT:             Attn: Brenda Coy I Wells Fargo (Phone: 800-927-980 I ext. 62918)
                                                    Corporation Service Company
                                                    120 1 Hays St, Tallahassee, FL 32301

                                       fROM:        NLC/Blesilda Emperador

                 SENDER PHONE NO.: 907-265-2804

                        SENDER 1?.\.fAIL: blesilda.a.emperador@wellsfargo com

       AU/COBUS/ BUS1NESSLINE:                      1417

                          TOTAL PAGES:              ll (including cover sheet)

                                                    If you do not receive all pages; please call / email:___________ _ __
                             CASENAME.:             13-1038CI


                        STATE SERVED:               12/20/20 13
                    DATE OF SERVICE:                I2120/20 I3 If "Unknown", check here.
     TIME DOCUMENTS SERVED:                         5:00 lf"Unknown", check here.
              METHOD OF SERVICE:                    Mail lf''Other":
         ORIGINALLY SERVED ON:                      Wells fargo Home Mortgage If Other is selected, please complete:
                  COMME:-ITS/l\"O'fES:

                                                             For Use by Wells Fargo Only.

This ~Q$•m•IO conta•nG lntormotion Which (a) may be LEGALLY PRIVILEGEO, PROPRIETARY IN NATURE, OR OlliERWISE PROTECTED BY LAW FROM
DISCLOSURE. and (b) b lntencled only for the u5e of the Addressee{s) named below. If you are not the AddrnsH, or 11111 pc~rson rg,sp onsibro for delivenog
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#l137975-v6                                                  Revised 5/7/2013




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                      IN THE DISTRICT/SUPERIOR COURT FOR THE STATE OF ALASKA
                                              AT KENAI
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Xevca__ \~\.LL~(s;,                                                             )
   v5.T\-\<t.. ~~U..f: TW(_.Y Of                               \f£.:16££4-r-..lS~   CASE NO. 3KN- \                                        ~   ·   l 0)<5   C.   f..,
       WElLS ~D ~K-;Nfl>
 luaLs t:_r::t~D ~)l)lc_,¥\~Pbr.t\NA                su~~gNs
 Lu)::.l.J_S t-A I2.6Doetendant(§).       ) NOTICE TO BOTH PARTIES
  \lb)'Yl G M0\2.\6\ ~&?: ~ eftS . ,r }     OF JUDICIAL ASSIGNMENT
   \'j Hi\ tmftL. l~IC              1(,~1                       I   "




   To Defendant: l aJell$ t~aQqO 1.-'YUU( . f\.l A·
   You are herebysu mmoned and requifed to file with the co~rt' a written answer to the complaint
   which accompan1es th1s summons. Your answer must be filed with the court at 125 Trading Bay
   Drive. Suite 100. Kenai, Alaska 99611-7717 within 20 days• after the day you receive this
   sumrnons. In additi<fD- a CQPY of•your answer must be sent~ the ·plaintiff's:-9ttorney or plaintiff
   (ifunrepresented}, r-l"~cJe.nc..L 1 'r <.ute..e.. ~             ..l.e,tQJr u..-. tsu.. qoc.K
   whose address is: "D.(), bo 'L 'I Qq3 ' . s:\--o.?..-\\                                 t,K 9qlol2.                 ho
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   If you fail to file your answer within the required time, a default judgment may be entered against
   you for the relief demanded in the complaint.

   If you are not represented by an attorney, you must inform the court and all other parties in this
   case, 11"1 writing. of your current mailing address a:1d any future changes to your mailing address
   and telephone number. You may use court form Notice of Change of Address ( Telephone
   Number (TF-955} , available at the clerK's office or on the court system's websita at
   www.state.ak.us/courts/forms.h tm , to inform the court.
                                                                             -OR-
   If you have an attorney, the attorney must comply with Alaska R. Civ. P. 5(i).

                                              NOTICE OF JUDICIAL ASSIGNMENT
   To: Plaintiff and Defendant
   This c_
         ase has been assigned to:

   ~
         Superior Court Judge Car! J.D. Bauman
         Superior Court Judge Charles T. Huguelet
   D     Superior Cour. Judge Anna M. Moran
   0     District Court Judge Sharon S. ll!sley



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                                                                                    CLERK OF      GOtJRT
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                ' Date                                                            .- '9eputy Clerk ,
   ~rhe State or a state officer or agency named as a defendant has 4.0 day$ to. fil,e its ·:answer. If
   you have been served with this summons outside the United States. you.also have 40 days to
   file your answer.                                                                                ·
   CIV-100 KENA! (8/07)(St.3)                                                              Crvrl Rules 4, 5. 12. 42(c), 55
   SUMMONS




          Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 4 of 14                                                                                                  ([KLELW$
                                                                                                                                                                        3DJHRI
     Renee Bullock/pro-se
 1   P.O. Box 1093
     Sterling, Alaska 99672
 2

 3
                  IN THE SUPERIOR COURT FOR THE STATE OF ALAS~~   ·
                          THIRD JUDICIAL DISTRICT AT :KENAI      11
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 5                                                                                !Jfcl_ •    Dk~.
     Frederick Bullock. Renee Bullock &                                       ·~<4-.,~ G20t
 6
     Jerica Bullock                                                                   I~·
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 7

 a                       Plaintiffs ,
                                                       CASE NO. 3KN-t:Y 10 3¥CI.
 9   vs .
     Wells Fargo Bank, NA., Wells Fargo
10   Bank,
11   Alaska, NA., National Bank of Alaska., :
     Wells
12   Fargo Home Mortgage., The Secretary
13
     of Veterans Affairs, Its Successors In
     Office As Such., and or Assigns/ All
14   Other Unknown
     Defendants
15
                         oe=endant s
16

17
      COMPLAINT FOR COMPENSATORY DAMAGES, PUNITIVE, DAMAGES, CIVll.,
18
     PENALTIES UNDER TITLE AS 06. CONSUMER PROTECTION AND OTHER RELIEF
19

20
             Plaintiffs, by and through its attorney, acting as Pro-se for the Plaintiffs,
21
     At this time will be Renee Bullock (party plaintiff to this case) brings this case
22
     And states as follows:
23
                                        THE PARTIES
24
             1.   Frederick Bullock, appears and testifies on behalf of himself
25




                                       (Summary of ploading] - 1




            Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 5 of 14                      ([KLELW$
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    1          And, has knowledge of the facts in this case.

    2   2.     Renee Bullock. will appear, testify and present this case pro-se
    3          For the Plaintiffs, and has extensive knowledge and research time

    4          Invested in this case. And has all hard copy records and receipts tor
    s          The justification, of bringing this case to the court.
    6

    7    'l
         J ,   Jerica B uliock, appears and testifies on behalf of herse lf, with factual
    8          Knowledge ofthis case.
    9

10      4.     The Plaintiffs will be R eferred to in thi s case as:[' The Bullocks']
j   t

:2       5.    Defendant Wells Fargo Bank, NA is a Delaware Corporation, w hich
13             Maintains several businesses in and out of the State of Alaska, and each
14             One its own entity allowing service to any and or all of its Brick and
15             Morter locations.
16

:7       6.    Defendant, Wells Fargo Bank, Alaska. NA atiiJiated thru documents
18             And check copies, not known by the PDIC as a recognized bank, and
19             Shows its location as 420 Montgomery Ave. San Francisco CA, also
20             Known as the WELLS FARGO MUSEUM, but associated with both
~1             Wells Fargo Bank, NA, and other Associated       Def~ndants   listed in this
22             Complaint. "Expired" State of Alaska Business Licenses shown as:
23             283 144 and 283145 which opemted between 200 l -2004.
24

25       7.    Defendant National Bank of Alaska, name, this bank originally


                                   {Summary of pleading] - 2




        Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 6 of 14                          ([KLELW$
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2013-12   ~o   18:04               Wells Fargo             (907) 265-2043           >>   Fax Server Pl6/13
                                                                                                     I

     1                    Accepted the payments before merging with Wells Fargo, Bank and

     2                    Has the address of the former licensed entity, Wells Fargo Bank,
     3                    Alaska,NA.
     4

     s            8.      The Secretary ofVeterans Affairs Its Successors and Assigns in Office

     6                    As Such. Associated parties listed on the case no. 4FA-11-01673CI.
     7

     8                                 JURISDICTION AND VENUE
     9

    10                 This is a civil action tbr compensatory and punitive damages
    11     As well as Statutory assessments, penalties and costs and other remedies and
    12     damages incurred by the Plaintiffs, as a result from wrongful acts committed. And
    13     Including but not limited to Extensive Mortgage Servicing Abuse, Evictions, Loss
    14     of Monies and Misappropriations, Unauthorized signatures to accounts by bank
    15     employees, Foreclosure, Loss of Quality ofLife, Medical Bills, Stalking,
    16     Unauthorized entry to property, Threatening, Harassment, Property Abuse,
    17     Property Asset Removal and Disposal, Property Damage, Credit Abuse,
    1a Asset/Equity Stripping, Late Fees, Unapplied Payments, Elevation of Appraisals,
    19     Signatures of Unknown Bank Controllers Identities. Offers of Monies from
    20     Defendants Counsel to not sue they're clients. The Superior court has jurisdiction
    21    I over this matter.   Defendants do operate several branches of business in the Third
          I                                                    .
    22     Judicial District in Kenai. Plaintiffs have relocated to the Kenai area for reasons
    23     explained in this Complaint, and have been in contact always telephonically lo the

    24    Iattorneys and counsel tor the D~fendants listed, as legal dep:.trtments of the
    zs 'Defendan ts are mostly situated in other stares ofrhe U S. Piaintiffs choose to start I
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                                           ~ Summary   of p lead.i..r-g l   -   j



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                Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 7 of 14                             ([KLELW$
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 1   fi·esh in the Kenai Alaska, Soldotna Alaska area and feel this is the proper court

 2   for this action.

 3

 4               FACTS REGARDING COMPLAll""fT FOR DAMAGES
 5

 6      1. Plaintiffs originated a mo.rtgage io the year of 1994, for property
 7          known as 1191 Lakloey Drive, Northpolc Alaska 99705 a!so known as
 B          Lot 19 Willow Acres Subdivision, and known as plat 78-102, as
 ~          recorded in the official records of the Fairbanks Recording District
10          401. And recorded in book 881 page 371.
11

12      2. Plaintiffs saved t 6 years of official hard copy records of bank
13          statements throughout the course ofthe mortgage, and have done
14          extensive research after the foreclosure and eviction proceedings started
15          in late 2008.
16

17      3. Plaintiffs noticed after examining documents, when evicted, harassmen
18          by attorneys and several property appraisals began, that it was no fault

19          of the Plaintiffs, there was huge monetary errors in the application of
20          the payments by the 2 banks who essentially became the one known as
21          Wens Fargo Bank, NA, along with the dominoe effect of stripping of
22          fees and unapplied amounts. P rincipal always going up, despite
23          Plaintiffs paying over the amount owed for·payment, as they were told i
24          they paid extra for so many years they would pay off the mortgage in 15
2s          years and not 30.


                                  [Summary of pleading] - 4




          Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 8 of 14                    ([KLELW$
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    z         4. Copy of an Official check that was filed away since 2001 shows payable
    3           at an institution that does not exist, and a ControUer whom is not
    4            known by any bank employee, and after researching the check ·was
    5           found to be part of something known as the Nigerian 419 check scam.
    6           Although this money was banded over in cash to the employees of the
    7           Bentley Mall Branch of Wells Fargo in the amount 6673.00 the check
    s           says 5673.00 then another ~or 1000.00 which is also not on payment
    9            history, tbe other 5000.00 was taken to the local western union at Fred
1   o            Meyer store as a quick coilect as instructed by the bank employees,
11               needless to say tbe Plaintiffs sold they're assets from they're business to
12               a contractor .for this money that was not even owed. This is just one
13               example of asset loss and essentially fraud.
14

15            5. Complaints were submitted to the Law Department tbru the Attorney
!6               Generals office, The office of Swift management, The Comptroller of
                 Currency, T he Federal Trade Commission, and The actual Office of the
18               President of Wells Fargo Home Mortgage, once again in the month of
19               approximately 9/2013. and again they are stiU not answering the
20               compla int, they are stalling for time, but they have released they' re fln~t
2.:.             attorneys on record a nd hired new counsel, when i he P lain tiffs              I
                 requested damages. The Plaintiffs were a pproached by the banks
2J               Counsel, and were offered money not move forward a nd sue these
24               Defendants, and sign G!obai :·e!ease of a ny ~ nd a U daims, th is ~:::o net
25               be tolerated, this is whet·e consumer protection is also needed.


                                       ( Summary   of pleading   - 5

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               Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 9 of 14                          ([KLELW$
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 2

 3   6. The Attorney General for the State of Alaska, received a total of over 10
 4      million doUars for borrowers who lost their homes in the foreclosure
 5      crisis. The Plaintiffs state that the 1484.00 that was distributed to
 6      homeowners tbat did qualify out of the 2700 that essentially lost their
 7      homes is simply a far cry from what the Plaintiffs are seeking. It states
 8      for the record that although the mortgage settlement offer is issued
 9      claimants can still file civil action on these entities even though the
tO      checks are issued to the claimants. Plaintiffs have lost everything,
11     everything they have worked for, became homeless, swindled, abused,
12     stalked and have extensive medical biUs that are beyond reality, that the
13     Plaintiffs feel should be paid by the Defendants. Consumer protection
14      under the l.a ws of this government are definitely needed at this time for
15      this family, that bas actual bard copy factual proof, that the Defendants
16      can't seem to find in their records. This demonstr-ates the inability to
11      properly handle the Plaintiffs assets, or any other consumer as it stands.
18      The bank, ''WELLS FARGO" have oo answers and are still stalling for
19      time. As a matter of fact, the Plaintiffs are probably not the only
20     consumers this happened to. Tru.st is absolutely gone with this lending
21      institution, and be known to the public would most definitely create
22      panic. The foreclosure is absolutely on its face with abuse to the
23      Plaintiffs. Essentially after hours and hours, upon years, too many to
24      count this abuse stems a!l the way back to the day after 9/11, which
25      essentially started the foreclosnt·e disaster so many years later.


                              {SUmmary of pleading ] - 6




     Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 10 of 14                    ([KLELW$
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 1    7. Defendants have sent to Plaintiffs 3 or 4 different payment ledger
 2       history's some different than the one before, Plaintiffs ask why can't
 3       they seem to get this correct, why is it they ask the Plaintiff's when the
 4       payments were made, is it they just can' t find our money but they have
 s       executed on our home and all assets for several years by and thru their
 6       collection attorneys! Without providing this proof. Are they trying to
 7       purport another payment history different from the one before, this is
 8       on its face with extreme abuse of the Plaintiffs monies?
 9

10    8. Plaintiffs want to address the water issues, and tbe reports made to the
a        Defendants and Counsel on several occasions, starting when they
12       dispatched appraisers to the Plaintiffs home, an eruption of some
13       petroleum based substance approximately in the year of 2009, started
14       coming ont of the ground and stemming from somewhere beneath the
1s       garage slab, of the detached 2 car garage that was existent before tbe
16       Plaintiffs lived in the home, Plaintiff pointed it out, showed the
17       appraisers for the VA, and the Bank, and they did nothing, and did not
18       disclose it on the report, they covered they' re ears, they did not want to
>.9      know and also the VA loan office did not care. Later Frederick was
20       diagnosed with Cancer, and 2 family pets that resided on the property,
21       died with large tumors on them after years of residing with the
22       Plaintiffs, witnesses to all of this and reported to DEC, still tbe bank
23       markets this property to seil to a unknowing innocent consumer, this is
24       Consumer Protection material, In, so far Mr. Bu11ock's medical
2s       treatments are over $600,000, and climbing. Mr. Bullock bas always


                               [Summary o£ p leading: - 7




      Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 11 of 14                     ([KLELW$
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 1     worked his whole life, and now cannot, be injects himself, every Friday
 2     with chemo, that is supplied by his Veteran benefits, the same entity
 3      that removed the Plaintiffs from the property as soon as the spill was
 4     reported, and at -40 below zero, a few months later, with nowhere to
 s     go. Water report shows just under lethal limits of turpeoyl and
 6     octacosane. Defendants have been shown and still they market the
 ;      property, this is where the Plaintiffs are requesting an injunction to dig
 a      up that back corner of the poorly crafted floating garage slab and
 9     determine what is there, this sbould·be a given. No other human being
10     should be harmed, this is a given, this is the law, to have clean water,
11     other previous occupants wiU not talk about they're experience with thi
12      property, as PlaintiffRenee BuUockstarted asking questions at that
13      time, and making her own investigations as to why this is. When the
14     Fairbanks Judge lowered the gavel.
15

16   9. All Defendants are represented by tbe same Counsel, which bas
17     communicated some terms over the phone and tbru email, and have
1a     offered monies not to move forward, this is wrong and illegal.
19

20   10. Unauthorized entry recordings and admissions of entering property
21     after being que.stioned, this has put the Plaintiff in fear as to why they
22      are doing this, how long did this go on, also water ingested contained
23      larvae, that essentially caused the removal of one of the Plaintiffs, teeth
24      because of infection that had gone to tbe brain, proof pictures and
zs     wjtnesses to account for this, how did this get in the water well and what


                              [Summary of pleading] - 8




     Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 12 of 14                     ([KLELW$
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 1       were the property people doing ie this home and w hy'! And was it just
 2      in the well, no way to know this.
 3

      11. Essentially all of the entries are believed to have started happening
 5       after the Plaintiffs started questioning autbority, complaining and
 6       wanting to know the answers as to where the missing money was
 7      applied, why it wasn't, why they are foreclosing, and filing reports with
 8       the Federal Entity's listed herein, not to mention also after the
 9       Fairbanks court said to find something to fight tbis, Plaintiffs know now
10       that they cannot turn a F.E.D. eviction filing into a Damages ease for
11       them, so are now hereby filin g this in the Superior Court to where they
12      choose, to where they fee.l comfortable, and where they can hopefully
13      start fresh in a new town and are praying for the relief, from thjs court,                          I
14      for the extensive abuse, of what they have endured, are enduring, and
1!1     wi.th the hopes that also this court protects aH and a ny other consumer
16      in the future to not a Uow this to happen to anyone. As a ma tter of fact
        The Veterans Affairs filed the F>E>D> ellictiou on the ~-rong Joan
         number\ it was not the !)1a!ntiffs ioan                     the~        coHeded -rHn· home for .




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      Case 3:14-cv-00010-TMB Document 3-1 Filed 01/17/14 Page 13 of 14                                          ([KLELW$
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    1     were ext remely outrageous a nd undertaken, w it h reckless indjfference
    2     to th e rights of the Plaintiffs, we pray for t he maximum amount of aU
    3     separate d a mages a llowed by law, a nc.i a ny other awa rded a mounts
    ~;    deemed proper.
    5

    6                         PRAYER FOR RELIEF
    7

    a          Wherefore, Plaintiffs pray for judg~ment against thf; Defendants as
    9     foHows:
10        1. For an award of civil penalties and assessments, response costs, and
ll           compensatory, treble and natural resource, and other damages alleged       I
                                                                                        l
12           herein, in amounts excessing 100,000.                                      I
          2. For an award of such other and equitable rei ief, as deemed proper by this!
j   4        court.                                                                     i
!5        3. An award of attorney fees and costs to bring this to court, and by court
16           ruling;
:.7                                                                                     I
18

19       *SlGNED--~--~------
20
             JericaJ. B~~ {( ~/~(
21           5;1(}~~1)-----------------------~------------
             frederick R. Bullock/Plaintiff
23

24                                            SIGN
                                                                            ·.._
25                                            Renee A.       BullockJP~ainti ff




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